Case 1:20-cv-21553-MGC Document 655 Entered on FLSD Docket 04/26/2021 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 20-21553-Civ-COOKE/GOODMAN

   PATRICK GAYLE, et al.,

           Petitioners,

   and

   MIGUEL ANGEL ZETINA,

           Petitioner-Intervenor,

   vs.

   FIELD OFFICE DIRECTOR, MIAMI
   FIELD OFFICE, U.S. IMMIGRATION
   AND CUSTOMS ENFORCEMENT, et al.

         Respondents.
   _______________________________________/

                              INTERVENOR ZETINA’S
             EXHIBIT LIST FOR EVIDENTIARY HEARING OF APRIL 28, 2021

           The petitioner-intervenor, Miguel Angel Zetina, by and through the undersigned,
   files this Exhibit List to give notice to the Court of the documents upon which he intends to
   rely for the upcoming hearing that the Court scheduled (D.E. 650) for April 28, 2021, at
   10:45 a.m. The following documents were previously filed through CM/ECF either by
   Mr. Zetina or by the government.

           The undersigned is currently in communication with counsel for the government to
   determine whether the parties will be able to stipulate to the authenticity of the following
   evidentiary filings. Briefs are noted below (and underlined) to clarify how the exhibits
   were introduced into the record.

   D.E. #         Document Description

   520            Respondent’s Opposition to Petitioner Zetina’s Motion to Intervene

   520-1          Detention History for Miguel Angel Zetina

                                                1
Case 1:20-cv-21553-MGC Document 655 Entered on FLSD Docket 04/26/2021 Page 2 of 2




   D.E. #        Document Description—continued

   567           Verified Petition for Writ of Habeas Corpus

   567-2         Electronically Tabbed Appendix of Supporting Materials, Exhibits A–O


   598           Respondents’ Return to Verified Petition for Writ of Habeas Corpus
                 (sealed) 1

   598-1         Department of Homeland Security Brief on Interlocutory Appeal (sealed)

   598-2         Immigration Judge Order (Jan. 26, 2021) (sealed)


   599           Petitioner’s Traverse

   599-1         Immigration Judge Order (Jan. 26, 2021)

   599-2         Letter of the Solicitor General, Demore v. Kim, S. Ct. No. 01-1491 (Aug. 26,
                 2016)


   609           Intervenor Zetina’s Oppose[d] Motion for Oral Argument

   609-1         Order (D.E. 67), ASISTA v. Albence, No. 20-cv-00206-JAM (D. Conn. Mar.
                 18, 2021)

   609-2         Joint Motion to Hold in Abeyance (D.E. 67), ASISTA v. Albence, No. 20-cv-
                 00206-JAM (D. Conn. Mar. 18, 2021)

   Dated: April 26, 2021                              s/ Mark Andrew Prada
                                                      Fla. Bar No. 91997
                                                      Prada Urizar, PLLC
                                                      3191 Coral Way, Suite 500
                                                      Miami, FL 33145
                                                      c. 786.238.2222
                                                      o. 786.703.2061
                                                      mprada@pradaurizar.com

                                                      Counsel for Intervenor Zetina


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         As the undersigned understands it, the government requested sealing to avoid potential
   liability under 8 U. S. C. § 1367(c) for any perceived violations of the confidentiality provi-
   sions applicable to U nonimmigrant status petitions. The confidentiality rules only apply
   to the Attorney General, the Department of Justice, and the Secretaries of Homeland Secu-
   rity and State and their officials and employees. § 1367(a).
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